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  United States Court of Appeals
                             for the

                    Fifth Circuit

                        Case No. 24-40792
   TEXAS TOP COP SHOP, INCORPORATED; RUSSELL STRAAYER;
    MUSTARDSEED LIVESTOCK, L.L.C.; LIBERTARIAN PARTY OF
 MISSISSIPPI; NATIONAL FEDERATION OF INDEPENDENT BUSINESS,
  INCORPORATED; DATA COMM FOR BUSINESS, INCORPORATED,
                                                  Plaintiffs-Appellees,
                               v.
  PAMELA BONDI, U.S. Attorney General; TREASURY DEPARTMENT;
  DIRECTOR FINCEN ANDREA GACKI, Director of the Financial Crimes
Enforcement Network; FINANCIAL CRIMES ENFORCEMENT NETWORK;
        SCOTT BESSENT, Secretary, U.S. Department of Treasury,
                                               Defendants-Appellants.

                 _____________________________
   ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
   EASTERN DISTRICT OF TEXAS, SHERMAN IN CASE NO. 4:24-CV-478,
             AMOS L. MAZZANT, U.S. DISTRICT JUDGE


  BRIEF OF AMICI CURIAE ADVANCING AMERICAN FREEDOM; AMERICAN
ASSOCIATION OF SENIOR CITIZENS; AMERICAN SECURITIES ASSOCIATION;
AMERICANS FOR LIMITED GOVERNMENT; CENTER FOR A FREE ECONOMY;
CENTER FOR INDEPENDENT THOUGHT; CENTER FOR POLITICAL RENEWAL;
COMPETITIVE ENTERPRISE INSTITUTE; EAGLE FORUM; EAGLE FORUM OF
    GEORGIA; JOANN FLEMING, EXECUTIVE DIRECTOR, GRASSROOTS
 AMERICA - WE THE PEOPLE PAC; FRONTIERS OF FREEDOM; FRONTLINE
 POLICY COUNCIL; CHARLIE GEROW; JAY D. HOMNICK, SENIOR FELLOW,
  PROJECT SENTINEL; INTERNATIONAL CONFERENCE OF EVANGELICAL
CHAPLAIN ENDORSERS; INTERNATIONAL ORGANIZATION FOR THE FAMILY;
   JCCWATCH.ORG; TIM JONES, FORMER SPEAKER, MISSOURI HOUSE,
  CHAIRMAN, MISSOURI CENTER-RIGHT COALITION; MOUNTAIN STATES
    POLICY CENTER; MICHAEL MUNGER, PFIZER/PRATT UNIVERSITY
   PROFESSOR OF POLITICAL SCIENCE, DUKE UNIVERSITY; NATIONAL
RELIGIOUS BROADCASTERS; NEW JERSEY FAMILY POLICY CENTER; NOAH
WEBSTER EDUCATIONAL FOUNDATION; NORTH CAROLINA INSTITUTE FOR
   CONSTITUTIONAL LAW; NSIC INSTITUTE; OKLAHOMA COUNCIL OF
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PUBLIC AFFAIRS; ORTHODOX JEWISH CHAMBER OF COMMERCE; MELISSA
ORTIZ, PRINCIPAL & FOUNDER, CAPABILITY CONSULTING; PENNSYLVANIA
EAGLE FORUM; PROJECT 21 BLACK LEADERSHIP NETWORK; RIO GRANDE
  FOUNDATION; SETTING THINGS RIGHT; JOHN SHADEGG, MEMBER OF
  CONGRESS, 1995-2010; 60 PLUS ASSOCIATION; STAND FOR GEORGIA
  VALUES ACTION; TEA PARTY PATRIOTS ACTION, INC.; THE JUSTICE
 FOUNDATION; TRADITION, FAMILY, PROPERTY, INC.; UPPER MIDWEST
LAW CENTER; RICHARD VIGUERIE, CHAIRMAN, CONSERVATIVEHQ.COM;
   YANKEE INSTITUTE; YOUNG AMERICA'S FOUNDATION; AND YOUNG
   CONSERVATIVES OF TEXAS IN SUPPORT OF PLAINTIFFS-APPELLEES



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                                      TIMOTHY HARPER
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                 STATEMENT OF INTERESTED PERSONS
                      FIFTH CIRCUIT RULE 29.2

      The undersigned counsel certifies that the following persons and entities have

an interest in the outcome of this case. These representations are made in order that

the judges of this court may evaluate possible disqualification or recusal. J. Marc

Wheat, General Counsel for Advancing American Freedom, Amicus Curiae. The

undersigned counsel also certifies that Amici Curiae, Advancing American Freedom;

American Securities Association; Frontiers of Freedom; Frontline Policy Council;

Charlie Gerow; International Conference of Evangelical Chaplain Endorsers;

International Organization for the Family; JCCWatch.org; Tim Jones, Former

Speaker, Missouri House, Chairman, Missouri Center-Right Coalition; Mountain

States Policy Center; North Carolina Institute for Constitutional Law; NSIC

Institute; Setting Things Right; Stand for Georgia Values Action; Tea Party Patriots

Action, Inc.; The Justice Foundation; Tradition, Family, Property, Inc.; Yankee

Institute; Young America’s Foundation; and Young Conservatives of Texas are

nonprofit corporations that have no parent corporations, are not publicly held

corporations, and do not issue stock.

DATED: February 24, 2025        /s/ J. Marc Wheat
                                J. Marc Wheat
                                General Counsel for Advancing American Freedom




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                STATEMENT OF INTEREST OF AMICI CURIAE1

       Advancing American Freedom (AAF) is a nonprofit organization that

promotes and defends policies that elevate traditional American values, including

the uniquely American idea that all people are created equal and endowed by their

Creator with unalienable rights to life, liberty, and the pursuit of happiness. AAF

“will continue to serve as a beacon for conservative ideas, a reminder to all branches

of government of their responsibilities to the nation,”2 and believes that the

governmental structures established by the Constitution are necessary for the

preservation of the liberty of the people. Advancing American Freedom files this

brief on behalf of its 7,967 members in Texas and its 10,483 members in the Fifth

Circuit.

       Amici American Association of Senior Citizens; American Securities

Association; Americans for Limited Government; Center for a Free Economy;

Center for Independent Thought; Center for Political Renewal; Competitive

Enterprise Institute; Eagle Forum; Eagle Forum of Georgia; JoAnn Fleming,

Executive Director, Grassroots America - We the People PAC; Frontiers of Freedom;

Frontline Policy Council; Charlie Gerow; Jay D. Homnick, Senior Fellow, Project

1
  All parties have consented to the filing of this amicus brief. No counsel for a party authored this
brief in whole or in part. No person other than Amicus Curiae and its counsel made any monetary
contribution intended to fund the preparation or submission of this brief.
2
  Edwin J. Feulner, Jr, Conservatives Stalk the House: The Story of the Republican Study
Committee 212 (Green Hill Publishers, Inc. 1983).
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Sentinel; International Conference of Evangelical Chaplain Endorsers; International

Organization for the Family; JCCWatch.org; Tim Jones, Former Speaker, Missouri

House, Chairman, Missouri Center-Right Coalition; Mountain States Policy Center;

Michael Munger, Pfizer/Pratt University Professor of Political Science, Duke

University; National Religious Broadcasters; New Jersey Family Policy Center;

Noah Webster Educational Foundation; North Carolina Institute for Constitutional

Law; NSIC Institute; Oklahoma Council of Public Affairs; Orthodox Jewish

Chamber of Commerce; Melissa Ortiz, Principal & Founder, Capability Consulting;

Pennsylvania Eagle Forum; Project 21 Black Leadership Network; Rio Grande

Foundation; Setting Things Right; John Shadegg, Member of Congress, 1995-2010;

60 Plus Association; Stand for Georgia Values Action; Tea Party Patriots Action,

Inc.; The Justice Foundation; Tradition, Family, Property, Inc.; Upper Midwest Law

Center; Richard Viguerie, Chairman, ConservativeHQ.com; Yankee Institute; Young

America's Foundation; and Young Conservatives of Texas believe, as did America’s

Founders, that compliance with the Constitution’s limits on government power is

essential for the preservation of American freedom.

                               INTRODUCTION

      The Corporate Transparency Act (“CTA”), which “requires a vast array of

companies to disclose otherwise private stakeholder information to [the Financial

Crimes Enforcement Network (FinCEN)],” Texas Top Cop Shop, Inc. v. Garland,
                                        2
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4:24-cv-00478-ALM at 4 (E.D. Tex. Dec. 5, 2024) (citing 31 U.S.C. § 5336(b)(1)),

is beyond the power of Congress to enact and thus is unconstitutional. The

information submitted must identify “each beneficial owner of . . . the reporting

company . . . by full legal name, date of birth, current . . . residential or business

street address, and [a] unique identifying number from an acceptable identification

document or FinCEN identifier.” Id. at 6 (alteration in original) (quoting 31 U.S.C.

§ 5336(b)(2)). A beneficial owner, with some exceptions, is “an individual who,

directly or indirectly, through any contract, arrangement, understanding,

relationship, or otherwise, exercises substantial control over the entity; or who owns

or controls not less than [twenty-five] percent of the ownership interests of the

entity.” Id. (alteration in original) (quoting 31 U.S.C. § 5336(b)(2)). This massive

collection and storage of private information is not within the ambit of congressional

power and is therefore unconstitutional.

      The Constitution only confers limited and enumerated powers on the federal

government. One of those powers is to “regulate Commerce . . . among the several

States.” U.S. Const. art. I, § 8, cl. 3. The original meaning of the clause is clear.

Commerce meant trade and among the states meant—well—among the states. A

broader reading turns much of the rest of the Constitution, including the Tenth

Amendment, on its head. Similarly, the original meaning of the Necessary and

Proper Clause confers on Congress only the power to carry out the powers already


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granted to it. Because no enumerated power supports the statute at issue in this case,

Plaintiffs-Appellees are likely to prevail on the merits and the injunction should be

upheld.

                                    ARGUMENT

I. The Commerce Clause is a Limited Enumeration of Power, not a Grant of a
General Police Power.

      The CTA is unconstitutional and thus the district court rightly found that

Plaintiffs-Appellees are likely to prevail on their claim that the act goes beyond the

power the Supreme Court has found the Commerce Clause grants Congress in cases

like Gonzales v. Raich, 545 U.S. 1 (2005). More fundamentally, the CTA is beyond the

power granted to Congress by the Commerce Clause as understood at the time of the

founding. While the application of this narrower, original meaning is not determinative

in this case, courts’ “duty to . . . say what the law is,” Marbury v. Madison, 5 U.S. 137,

177 (1803), calls for attention to the Constitution’s original meaning.

      The text of the Commerce Clause, understood as it was by the ratifying public

at the time of its adoption, grants Congress only the ability to regulate

interjurisdictional trade. The Commerce Clause grants Congress the power to

“regulate Commerce . . . among the several States,” as well as with foreign nations

and Indian tribes. U.S. Const. art. I, § 8 cl. 3. “[T]he Commerce Clause empowers

Congress to regulate the buying and selling of goods and services trafficked across


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state lines.” Gonzales, 545 U.S. at 57 (Thomas, J., dissenting) (citing United States

v. Lopez, 514 U.S. 549, 586-89 (1995) (Thomas, J., concurring)). This understanding

of “commerce” as trade was common not only to the drafters of the Constitution but

to the general public including those who ratified it. Id. (citing Randy Barnett, New

Evidence of the Original Meaning of the Commerce Clause, 55 Ark. L. Rev. 847,

857-862 (2003)). On the other hand, commerce did not include the wholly intrastate

activities of agriculture and manufacturing. Gonzales, 545 U.S. at 58 (Thomas, J.,

dissenting) (“Commerce, or trade, stood in contrast to the productive activities like

manufacturing and agriculture.”). In fact, “the term ‘commerce’ was used in

contradistinction to” such “productive activities.” Lopez, 514 U.S. at 586.

      Whether used in relation to the drafting and ratification of the Constitution or

for public consumption, the word “commerce” was understood at the time of the

Founding to refer to “trade,” not all things that today would constitute commercial

activity. “Throughout founding-era dictionaries, Madison’s notes from the

Constitutional Convention, the Federalist Papers, and the ratification debates, the

term ‘commerce’ is consistently used to mean trade or exchange—not all economic

or gainful activity that has some attenuated connection to trade or exchange.”

Gonzales, 545 U.S. at 58 (Thomas, J., dissenting) (citing Lopez, 514 U.S. at 586-87

(Thomas, J., concurring); (quoting Randy Barnett, The Original Meaning of the

Commerce Clause, 68 U. Chi. L. Rev. 101, 112-125 (2001)). For example, “In none


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of the sixty-three appearances of the term ‘commerce’ in The Federalist Papers is it

ever used to unambiguously refer to any activity beyond trade or exchange.”3

“[C]ommerce” also had the meaning of “trade” in common usage.4 Thus, there is

compelling evidence that the power originally granted by the Commerce Clause was

the power to regulate interjurisdictional trade.

          Not only is the evidence supporting the narrow meaning of “commerce”

compelling, but the historical and constitutional context also demand a narrow

interpretation of the power granted by the Clause. The purpose of the federal

government was national unity, not national uniformity. “The powers delegated by

the proposed constitution to the federal government are few and defined. Those

which are to remain in the state governments are numerous and indefinite.”5 The

founding generation understood that the powers delegated to the federal government

“will be exercised principally on external objects, as war, peace, negotiation, and

foreign commerce.”6 Hamilton assured the public that “the supervision of

agriculture and of other concerns of a similar nature, all those things in short which



3
  Randy Barnett, The Original Meaning of the Commerce Clause, 68 U. Chi. L. Rev. 101, 116
(2001).
4
 See, e.g., Randy Barnett, New Evidence of the Original Meaning of the Commerce Clause, 55
Ark. L. Rev. 847, 857-60 (2003).
5
 The Federalist No. 45, at 241 (James Madison) (George W. Carey and James McClellan, eds.,
The Liberty Fund 2001).
6
    Id.

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are proper to be provided for by local legislation, can never be desirable cares of a

general jurisdiction.”7 Because the CTA regulates wholly intrastate, noncommercial

activity, it is not a legitimate exercise of the power granted to Congress by the

Commerce Clause.

II.   The CTA is Not a Necessary and Proper Exercise of Congress’s
      Commerce Clause Power.

      The CTA is neither necessary to, nor a proper means of implementing

Congress's power to regulate interstate trade. The Necessary and Proper clause gives

Congress the authority “[t]o make all Laws which shall be necessary and proper for

carrying into Execution the foregoing Powers, and all other Powers vested by this

Constitution in the Government of the United States.” U.S. Const. art. 1, § 8, cl. 18.

As Justice Thomas has explained, McCulloch created a two-part test for compliance

with the Necessary and Proper Clause:

      First, the law must be directed toward a “legitimate” end, which
      McCulloch defines as one “within the scope of the [C]onstitution”—
      that is, the powers expressly delegated to the Federal Government by
      some provision in the Constitution . . . Second, there must be a
      necessary and proper fit between the “means” (the federal law) and the
      “end” (the enumerated power or powers) it is designed to serve . . . The
      means Congress selects will be deemed “necessary” if they are
      “appropriate” and “plainly adapted” to the exercise of an enumerated
      power, and “proper” if they are not otherwise “prohibited” by the
      Constitution and not “[in]consistent” with its “letter and spirit.”


7
 The Federalist No. 17, at 80-81 (Alexander Hamilton) (George W. Carey and James McClellan,
eds., The Liberty Fund 2001) (emphasis added).

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United States v. Comstock, 560 U.S. 126, 160-61 (2010) (Thomas, J., dissenting)

(alteration in original) (quoting McCulloch v. Maryland, 17 U.S. 316, 421 (1819)).

      First, the CTA is not “‘within the scope of the [C]onstitution’—that is, the

powers expressly delegated to the Federal Government by some provision in the

Constitution.” Id. at 160 (Thomas, J., dissenting) (alteration in original) (quoting

McCulloch, 17 U.S. at 421). As noted in Section I above, Congress was not

authorized to enact the CTA under the Commerce Clause.

      Second, “[t]he means Congress selects will be deemed ‘necessary’ if they are

‘appropriate’ and ‘plainly adapted’ to the exercise of an enumerated power, and

‘proper’ if they are not otherwise ‘prohibited’ by the Constitution and not

‘[in]consistent’ with its ‘letter and spirit.’” Comstock, 560 U.S. at 160-61 (Thomas,

J., dissenting) (alteration in original) (quoting McCulloch, 17 U.S. at 421). As noted

above, the CTA is not “‘plainly adapted’ to the exercise of an enumerated power,”

id., because it regulates pre-commercial, wholly intrastate activity.

      The Constitution was intended to create unity, not uniformity among the

states. Thus, national policies like the CTA that seek to create uniform standards for

activities that take place within individual states do not comport with the spirit of the

Constitution.




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       Further, the CTA violates the letter of the Constitution, namely the First and

Fourth Amendments, by requiring potentially millions of Americans to disclose their

personal information absent a warrant or even any suspicion of criminal activity.

This undermines the freedom to associate anonymously, an American tradition that

is essential to the freedoms of speech and assembly protected by the First

Amendment. It also violates the protection against unreasonable seizure of the

papers and effects protected under the Fourth Amendment.

       For all of these reasons, the Court should uphold the district court’s injunction.

    III. The Collection of Data Invites Hacking and Abuse as Demonstrated
    Over and Over Again by Both Private and Government Information
    Databases.

    The government has no authority to demand the information it does in the CTA.

The prudence of that limitation is demonstrated in part by the repeated security

failures of large databases in both the public and private sectors.

    In December of 2024, “Chinese state-sponsored hackers breached the U.S.

Treasury Department's computer security guardrails” stealing “documents in what

Treasury called a ‘major incident.’”8 The “hackers compromised third-party

cybersecurity service provider BeyondTrust and were able to access unclassified



8
  Raphael Satter and A.J. Vicens, US Treasury says Chinese hackers stole documents in 'major
incident', Reuters (Dec. 31, 2024, 2:27 PM)
https://www.reuters.com/technology/cybersecurity/us-treasurys-workstations-hacked-
cyberattack-by-china-afp-reports-2024-12-30/.
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documents.”9 Similarly, In 2016, hackers broke into the Securities and Exchange

Commission’s Electronic Data Gathering, Analysis, and Retrieval system

(EDGAR).10 EDGAR processes over 1.7 million electronic filings annually, and

“traded on at least nonpublic 157 earnings releases,” enriching themselves by over

$4 million.11 In 2018, a hacker breached 60 million records of US Postal Service

user account details even after being warned a year prior.12 Hackers stole the personal

information of 21.5 million current and former federal government employees from

Office of Personnel Management files in 2015.13 26,000 current and former Defense

Intelligence Agency employees experienced a breach of personally identifiable

information in 2023.14 A British teenager published the contact information of

20,000 FBI agents in 2016.15 United States Army soldier Chelsea Manning

infamously handed over 750,000 classified documents to WikiLeaks.16 The


9
  Id.
10
   Amir Bibawy, SEC reveals 2016 hack that breached its filing system, Associated Press (Sep.
20, 2017, 11:37 PM) https://apnews.com/article/d81daf569c75472bbcba22d2f5ba0f34.
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government-breaches/.
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   Id.
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   David DiMolfetta, The Pentagon is notifying individuals affected by 2023 email data breach,
Government Executive (Feb. 15, 2024) https://www.govexec.com/technology/2024/02/pentagon-
notifying-individuals-affected-2023-email-data-breach/394184/.
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   Mary Kay Mallonee, Hackers publish contact info of 20,000 FBI employees, CNN (Feb. 8,
2016, 8:34 PM) https://edition.cnn.com/2016/02/08/politics/hackers-fbi-employee-
info/index.html.
16
   Bill Hutchinson, Chelsea Manning speaks of solitary confinement during New Year's Day
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healthcare information of 4.6 million active duty servicemembers, veterans, and

their family members was compromised in a 2011 Tricare breach.17

GovPayNow.com, which is used by thousands of state and local governments, leaked

14 million records in 2018, including addresses, phone numbers and partial credit

card numbers.18 Additionally, a hacker exposed 191 million records from a database

of American voters in 2015.19

       The private sector has experienced massive breaches as well. On July 12,

2024, AT&T announced that someone illegally obtained records of phone calls and

text messages from almost all its wireless customers,20 and an April 2024

nationalpublicdata.com breach exposed 2.7 billion records, including names,

addresses, dates of birth, phone numbers, and even Social Security numbers.21

       Because neither private nor public databases are reliably secure, the CTA’s

mass collection of data is unavoidably dangerous. The courts should have the chance


poetry event, ABC News (Jan. 2, 2024, 4:29 PM)
https://abcnews.go.com/US/chelsea-manning-speaks-solitary-confinement-new-years-
day/story?id=106043233.
17
   Jim Forsyth, Records of 4.9 mln stolen from car in Texas data breach, Reuters (Sep. 29, 2011,
6:00 PM) https://www.reuters.com/article/us-data-breach-texas-idUSTRE78S5JG20110929/.
18
   Bischoff, supra note 11.
19
   Thomas Brewster, 191 Million US Voter Registration Records Leaked In Mystery Database,
Forbes (Dec. 28, 2015, 8:50 AM) https://www.forbes.com/sites/thomasbrewster/2015/12/28/us-
voter-database-leak/.
20
   Jon Haworth and Luke Barr, AT&T says hacker stole some data from 'nearly all' wireless
customers, ABC News (Jul. 12, 2024, 12:24 PM) https://abcnews.go.com/US/att-hacker-stole-
data-wireless-customers/story?id=111874118.
21
   Aimee Picchi, Hackers may have stolen the Social Security numbers of many Americans.
Here's what to know., CBS News (Aug. 15, 2024, 6:15 PM)
https://www.cbsnews.com/news/social-security-number-leak-npd-breach-what-to-know/.
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to hear this case to completion before Americans are forced to divulge their personal

information for bureaucratic convenience.

                                 CONCLUSION

      For the foregoing reasons, this Court should uphold the district court’s

injunction.

                                       /s/ J. Marc Wheat
                                       J. MARC WHEAT
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                                       ADVANCING AMERICAN FREEDOM, INC.
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                                       Counsel for Amici Curiae




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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 24, 2025, a true and correct copy of the

foregoing Brief for Amici Curiae was served via electronic filing with the Clerk of

Court and all registered ECF users.



Dated: February 24, 2025

                                                   /s/ J. Marc Wheat
                                                   J. MARC WHEAT
      Case: 24-40792     Document: 276-1    Page: 20   Date Filed: 03/04/2025




                       CERTIFICATE OF COMPLIANCE

      This brief has been prepared using 14-point, proportionately spaced, serif

typeface, in Microsoft Word. Excluding the parts of the brief exempted by Fed. R.

App. P. 32(f), this brief contains 2615 words.



                                             /s/ J. Marc Wheat
                                             J. MARC WHEAT
